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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-CR-20277-MIDDLEBROOKS

   UNITED STATES OF AMERICA,

   vs.

   FREDY DONALDO MARMOL VALLEJO,

        Defendant.
   ________________                                 _____;/


                            PRELIMINARY ORDER OF FORFEITURE

          THIS MATTER is before the Court upon motion of the United States of America (the

   "United States") for entry of a Preliminary Order of Forfeiture ("Motion") against Defendant Fredy

   Donaldo Marmol Vallejo (the "Defendant"). The Court has considered the Motion, is otherwise

   advised in the premises, and finds as follows:

          On May 4, 2021, a federal grand jury returned an Indictment charging the Defendant in

   Count 1 with a money laundering conspiracy in violation of 18 U.S.C. § 1956(h), in Count 2 with

   an international narcotics trafficking conspiracy in violation of 21 U.S.C. §§ 963 and 959, and in

   Count 3 with international distribution of narcotics with intent to import in violation of 21 U.S.C.

   § 959 and 18 U.S.C. § 2. Indictment, ECF No. 1. The Indictment also contained forfeiture

   allegations, which alleged, in relevant part, that upon conviction of a violation of 21 U.S.C. §§ 963

   or 959 the Defendant shall forfeit "any property constituting, or derived from , any proceeds

   obtained, directly or indirectly, as the result of such offense, and any property used, or intended to

   be used, in any manner or part, to comm it, or to facilitate the commission of such offense, pursuant

   to Title 21, United States Code, Section 853." See id at 3-4. The Indictment further alleged that

   the property subject to forfeiture included a forfeiture money judgment of at least $150,000.00.
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         Id. at 4. The United States has since identified the following additional assets subject to forfeiture,

         including approximately $25,000, seized from a TD Ameritrade account on or about July 1, 2021.

         Plea Agreement, 14.

                On January 27, 2022, Defendant appeared before Magistrate Judge Chris M. McAliley and

         pleaded guilty to Count 2 of the Indictment. See Minute Entry, ECF No. 36. Magistrate Judge

         McAliley then issued a Report and Recommendation, in which she recommended that the Court

         accept Defendant's plea of guilty. Report & Recommendation, ECF No. 39. On April 12, 2022, at

         sentencing, the Court will adopt Magistrate Judge McAliley's recommendation and accept the

         Defendant's guilty plea to Count 2 of the Indictment. Plea Agreement , 1. As part of the guilty

         plea, the Defendant agreed to the property subject to forfeiture "includes, but is not limited to,"

         $25,000. Specifically, among other provisions in the Plea Agreement, the Defendant agreed to the

         following:

                         14.     The defendant agrees, in an individual and any other capacity, to
                forfeit to the United States, voluntarily and immediately, any right, title, and interest
                to property constituting, or derived from, any proceeds obtained, directly or
                indirectly, as the result of a violation of21 U.S.C. §§ 959 and 963, and any property
                used or intended to be used, in any manner or part, to commit, or to facilitate the
                commission of, such violation, pursuant to 21 U.S.C. § 853. In addition, the
                defendant agrees to forfeiture of substitute property pursuant to 21 U.S.C. § 853(p).
                The property subject to forfeiture includes, but is not limited to:

                        i. approximately $25,000, seized from a TD Ameritrade account on or about
                            July 1, 2021.

         Plea Agreement , 14.

                In support of the guilty plea, the Defendant executed a Factual Proffer, and the Court found

         that there was a factual basis to support the Defendant's conviction. See Factual Proffer. The

         United States Probation Office has since conducted a presentence investigation, which included

         information on the Defendant's financial condition. See Presentence Investigation Report ("PSI"),




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         ECFNo. 53.

                Defendant agreed in his factual proffer that co-conspirator testimony and corroborating

         evidence would show that, beginning in January 2013, a group of individuals conspired together

         with the Defendant to distribute cocaine and the Defendant was one of the members of the

         conspiracy. See Proffer. More specifically, the Defendant led a drug-trafficking organization that

         received kilograms of cocaine in Honduras. Id.; see also PSI   ~   14. The cocaine was sent from

         Colombia and countries adjoining Colombia and, after being received by the Defendant, was

         typically sent further north to Mexico and the United States.       See Proffer.   The Defendant

         controlled several maritime ingress points from the Caribbean Sea used to receive cocaine laden

         aircraft from Colombia and Venezuela. Id. Among other things, the conspiracy with which the

         Defendant was involved included a plan to receive at least 3,000 kilograms of cocaine in Honduras

         in November 2019. Id. During the transport of this shipment, law enforcement seized over 3,000

         kilograms of cocaine which was worth in excess of a million dollars in U.S. currency.

                After Defendant was arrested in Honduras, the Honduran Agencia Tecnica de

         Investigaci6n Criminal ("ATIC") identified at least $20,000,000 worth of Defendant's property

         located in Honduras, including among other assets (all numbers approximate):

                a.      32 real properties, including large houses, apartments, and condominiums in
                        exclusive neighborhoods;

                b.     24 commercial companies;

                c.      97 vehicles;

                d.      176 bank accounts;

                e.     4 boats;

                f.      1 commercial boat lift;

                g.      $9,641.00 in U.S. Currency;




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             h.      8,009,425.45 in Honduran Lempiras (approx. USD$326,192.90);

             1.       143 head of cattle;

            J.       household items, including grand piano and autographed memorabilia;

             k.      2 tractors; and

             l.       1 Backhoe.

     Morris Deel.   ,r 7.   None of those assets are within the United States or are under United States

     custody. Id ,i 8.

             As described above, Defendant purchased and/or obtained the $20,000,000 worth of assets

     during the course of the conspiracy, using proceeds of the conspiracy. Accord2l U.S.C. § 853(d)

     (presumption that property purchased during course of narcotics violation is subject to forfeiture

     where no likely source of income other than the criminal activity); United States v. Duboc, 694

     F.3d 1223, 1227 (11th Cir. 2012) ("21 U.S.C. § 853(d) establishes a rebuttable presumption that

     any property of the defendant is subject to forfeiture if the government establishes by a

     preponderance of the evidence that (1) the defendant acquired the property during the time of, or

     within a reasonable time after, the criminal activity, and (2) there was no likely source for the

     property other than the criminal activity."). Here, other than the conspiracy and criminal activity

     to which Defendant pleaded guilty, there is no likely source for the properties. 1

             Because Defendant purchased at least $20,000,000 worth of assets during the conspiracy

     period, using proceeds of the criminal conspiracy for which he pleaded guilty, $20,000,000

     provides a reasonable estimate of the proceeds Defendant obtained during the course of the




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      According to the PSI (see ,i 62), Defendant owned a ranch that made between $28,000 and
     $60,000 per year, which is insufficient to support the purchase of $20,000,000 worth of assets.
     Thus, the ranch is not a likely source of income and the presumption under § 853(d) applies.



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     conspiracy. 2 See Roberts, 660 F.3d at 166 (money judgment can be based reasonable estimate on

     the amount of property subject to forfeiture); see also supra at p.5.

            The United States has also not been able to locate all of the directly forfeitable property. It

     is the conclusion of Special Agent Morris that other directly forfeitable property cannot be located

     upon the exercise of due diligence; has been transferred or sold to, or deposited with, a third party;

     has been placed beyond the jurisdiction of the Court; has been substantially diminished in value;

     or has been commingled with other property which cannot be divided without difficulty. See

     Morris Deel. (attached as Exhibit A to Motion). Thus, pursuant to 21 U.S.C. § 853(p), the United

     States is authorized to forfeit substitute property, including but not limited to

                   i.   approximately $25,000, seized from a TD Ameritrade account on or about July
                        1, 2021.

            Accordingly, based on the foregoing, the evidence in the record, and for good cause shown,

     the Motion is GRANTED, and it is hereby ORDERED that:




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       A $20,000,000 forfeiture money judgment is a conservative estimate. First, the Government
     sought a forfeiture amount based on the amounts Defendant obtained personally during the course
     of the conspiracy. Insofar as Defendant was the leader of a drug-trafficking organization, the
     Government could have sought to hold him liable for all proceeds of the conspiracy. Elbeblawy,
     839 F. App'x at 400; Knowles, 819 F. App'x at 783 n.1. The average price for a kilogram of
     cocaine during the conspiracy period was $31,161.76 per kilogram. Morris. Deel. ,r 5. Defendant
     proffered to 3,000 kilograms of cocaine. See Proffer For 3,000 kilograms sold at $31,161.76 per
     kilogram, the proceeds would be $93,485,294.12. Second, Defendant pleaded guilty to an almost
     eight-year conspiracy. See Indictment; Plea Agreement. During that time period, Defendant
     controlled several maritime ingress points from the Caribbean Sea, in which he received cocaine
     from Colombia and Venezuela. See Proffer. In one shipment alone, Defendant shipped over 3,000
     kilograms of cocaine. Id.; PSI ,r 15. If Defendant shipped just one vessel of cocaine per year
     during the conspiracy, which vessel contained an equivalent amount of cocaine, using the average
     price for a kilogram that would amount to over $650,000,000.00 in proceeds.



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             2.         Pursuant to 21 U.S.C. § 853 and Rule 32.2 of the Federal Rules of Criminal

     Procedure, a forfeiture money judgment in the amount of $20,000,000.00 is hereby entered against

     the Defendant.

             3.         Pursuant to 21 U.S.C. § 853(p), the following substitute property is hereby forfeited

     and vested in the United States of America:

                   1.      approximately $25,000, seized from a TD Ameritrade account on or about July

                            1, 2021.

             4.         Any duly authorized law enforcement agency may seize and take possession of the

     forfeited property according to law.

             5.         The United States shall send and publish notice of the forfeiture in accordance with

     Rule 32.2(b)(6) of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n).

             6.         The United States is authorized to conduct any discovery that might be necessary

     to identify, locate, or dispose of forfeited property, and to resolve any third-party petition, pursuant

     to Rule 32.2(b)(3), (c)(l)(B) of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(m).

             7.         Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Order

     is final as to the Defendant.

             8.         The Court shall retain jurisdiction in this matter for the purpose of enforcing this

     Order, and pursuant to Rule 32.2(e )(1) of the Federal Rules of Criminal Procedure, shall amend

     this Order, or enter other orders as necessary, to forfeit additional specific property when

     identified.

             It is further ORDERED that upon adjudication of all third-party interests, if any, the Court

     will enter a final order of forfeiture as to the property in which all interests will be addressed.

     Upon notice from the United States that no claims have been filed within 60 days of the first day




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     of publication or within 30 days of receipt of notice, whichever is earlier, then, pursuant to Rule

     32.2(c)(2) of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(7), this Order shall

     become a Final Order of Forfeiture and any duly authorized law enforcement agency shall dispose

     of the property in accordance with applicable law.




                                                          DO ALD M. MIDDLEBROOKS
                                                          UNITED STATES DISTRICT JUDGE




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